Case: 2:19-cv-05075-EAS-EPD Doc #: 22 Filed: 10/16/20 Page: 1 of 1 PAGEID #: 1695




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 PAUL E. WILLIAMS,

                         Plaintiff,
                                                   Case No. 2:19-cv-05075
 v.                                                JUDGE EDMUND A. SARGUS, JR.
                                                   Magistrate Judge Chelsea M. Vascura

 ANDREW SAUL,
 Commissioner of
 Social Security,

                         Defendant.


                                             ORDER

       This matter is before the Court for consideration of the parties’ Joint Motion to Remand to

the Commissioner pursuant to sentence four of the Social Security Act, 42 U.S.C. § 405(g), which

is hereby GRANTED. (ECF No. 21.) The Court REMANDS this case for further proceedings,

pursuant to sentence four of 42 U.S.C. § 405(g).

       Upon remand, the Appeals Council will vacate all findings in the Administrative Law

Judge’s decision, and the Commissioner will conduct further proceedings and develop the

administrative record as necessary, including offering Plaintiff a new hearing, to determine

whether Plaintiff is disabled within the meaning of the Social Security Act.

       IT IS SO ORDERED.



10/16/2020                            s/Edmund A. Sargus, Jr.
DATE                                  EDMUND A. SARGUS, JR.
                                      UNITED STATES DISTRICT COURT JUDGE
